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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA

IN RE:
                                                            Case Number: 17-15633-LMI
JUAN CARLOS DeLEON
      Debtor
____________________________/

              RESPONSE TO MOTION TO ALLOW LATE FILED CLAIM (#128)

         Nancy K Neidich, Standing Chapter 13 Trustee ("Trustee") files this Response to Motion

to Allow Late Filed Claim (#128) and states as follows:

         1) The plan does not provide for payments to Sun Homes/Sun Communities.

         2) The plan provides for payments to Miami Lakes Venture Associates

         3) The plan provides for payment of $34,628.19 to Miami Lakes Venture Associates. An

arrears payment of $77.27 and a regular payment of $659.50.

         4) Sun Homes is seeking the cure of an arrears of $5,302.44 and a regular payment of

$664.96.

         WHEREFORE, the Trustee objects to the late claim as it is not provided for in the plan

unless the Debtor modifies the plan to provide for the payment of the claim.

                                      RESPECTFULLY SUBMITTED:
                                                NANCY K. NEIDICH, ESQUIRE
                                                STANDING CHAPTER 13 TRUSTEE
                                                P.O. BOX 279806
                                                MIRAMAR, FL 33027-9806

                                                     By: /s/___________________
                                                             Nancy K. Neidich, Esq.
                                                             Chapter 13 Trustee
                                                             Amy E. Carrington, Esq.
                                                            Senior Staff Attorney
                                                            FLORIDA BAR NO: 101877

                                  CERTIFICATE OF SERVICE
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       I hereby certify that a true and correct copy of Response to Motion to Allow Late Filed
Claim (#128) was served through NEF on Seth Greenhill, Counsel for Sun Homes and
Jacqueline Ledon, Esq on August 21, 2018
                                                      /s/
                                                      Amy E Carrington, Esq
